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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER
                                                                              CV 85-4544-DMG (ARGx)
Jenny L. Flores, et. al
                                                Plaintiff(s)
                            v.

                                                                     ORDER ON REQUEST FOR APPROVAL OF
William P. Barr, et al.                                               SUBSTITUTION OR WITHDRAWAL OF
                                              Defendant(s)
                                                                                 ATTORNEY


        The Court hereby orders that the request of:


     Jenny L. Flores                               Plaintiff    Defendant      Other
               Name of Party


to withdraw Daisy O. Felt
                                                                                                           who is


          Retained Counsel           Counsel appointed by the Court (Criminal cases only)               Pro Se

                                             One Shields Avenue, TB-30
                                                        Street Address

                Davis, CA                                                    dofelt@ucdavis.edu
                       City, State, Zip                                                E‐Mail Address

                (916) 508-5090                                                                    307958
               Telephone Number                         Fax Number                             State Bar Number


 is               X GRANTED               DENIED
 hereby


 The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in
 this case.


          Dated July 22, 2020
                                                                 Dolly M. Gee, U. S. District Judge
